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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Mandy Lewis
                                          Plaintiff,
v.                                                        Case No.: 1:19−cv−05521
                                                          Honorable Charles P. Kocoras
Pingora Loan Servicing, LLC, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 6, 2019:


         MINUTE entry before the Honorable Charles P. Kocoras: Status hearing set for
10/10/2019 at 9:30 AM. At the initial hearing, parties to report on the following: 1.
Possibility of settlement. 2. If no possibility of settlement exists, the nature and length of
discovery necessary to prepare the case for resolution. Lead counsel for each party is
required to attend the initial hearing. Failure to appear at any scheduled court hearing may
result in the dismissal of claims for want of prosecution. Pursuant to Local Rule 5.3(a)(1),
service of motions and notice of motions must be accomplished no later than 4:00 p.m. of
the third business day preceding the date of presentment. This includes delivering a hard
copy of the motion and notice of motion to Courtroom Deputy, Vettina Franklin at room
1744B no later than 4:00 p.m. the day of filing. Failure to comply may result in the
striking of the matter from the Court's motion call. The Court requires hard copies of all
documents be submitted to Courtroom Deputy, Vettina Franklin at room 1744B the same
day of filing. Failure to comply may result in the striking of the document from the record.
The Court directs counsel's attention to its Motion Schedule and Case Management
Procedures located at www.ilnd.uscourts.gov. Plaintiff is directed to advise all other
parties of the Court's action herein. Mailed notice(vcf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
